Case 0:21-cv-60125-RNS Document 83 Entered on FLSD Docket 06/03/2022 Page 1 of 1




                            United States District Court
                                      for the
                            Southern District of Florida

 Jiangmen Benlida Printed Circuit         )
 Co., Ltd., Plaintiff,                    )
                                          )
 v.                                       ) Civil Action No. 21-60125-Civ-Scola
                                          )
 Circuitronix, LLC, Defendant.            )

       Order Administratively Closing Case upon Notice of Settlement
       The parties have settled this action. (ECF Nos. 80–81.) By July 8, 2022,
 the Plaintiff must file a stipulation of dismissal, under Federal Rule of Civil
 Procedure 41(a)(1)(A)(ii), or a motion to dismiss, consistent with Rule 41(a)(2).
 The Court will administratively close this case in the meantime.
       If the Plaintiff files a stipulation of dismissal under Rule 41(a)(1)(A)(ii) and
 the parties wish to have this Court retain jurisdiction to enforce any settlement
 agreement, the stipulation of dismissal must include the following sentence:
 “The effectiveness of this stipulation of dismissal is conditioned upon the
 Court’s entry of an order retaining jurisdiction to enforce the terms of the
 parties’ settlement agreement.” This sentence is necessary because a
 stipulation of dismissal is otherwise self-executing and deprives the Court of
 jurisdiction to do anything further. See Anago Franchising, Inc. v. Shaz, LLC,
 677 F.3d 1272, 1280 (11th Cir. 2012).
       The Court directs the Clerk to close this case. Any party may move to re-
 open the case if there is a problem in reaching a final settlement agreement.
 Any pending motions are denied as moot.
       Done and ordered in Miami, Florida, on June 2, 2022.

                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
